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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                        )
                                                )
         v.                                     )       Criminal No. 18-292
                                                )
ROBERT BOWERS                                   )



                                        ORDER OF COURT

         AND NOW, this 17th day of April, 2023, upon review of the Government’s Motion at ECF

No. 1110, which requests, inter alia, “clarification concerning the level of address-related detail it

must provide under 18 U.S.C. § 3432,” the Court notes that the parties, on March 23, 2023,

provided as follows in their Joint Position Regarding Court’s Proposed Trial Order (ECF No.

1071):

         4. Compliance with 18 U.S.C. § 3432. The parties agree that “place of abode”
         means physical addresses, and that the deadline for the Court to provide a list of
         veniremen including their place of abode, and for the government to provide a list
         of witnesses “to be produced on the trial for proving the indictment,” and their place
         of abode pursuant to 18 U.S.C. § 3432, is April 18, 2023.

ECF No. 1071.

         In light of the parties’ seeming agreement as to compliance with 18 U.S.C. § 3432, the

Court ordered as follows at ECF No. 1084:

         The Court notes that the parties agree that “place of abode” means physical
         addresses, and that the deadline for the Court to provide a list of veniremen
         including their place of abode, and for the Government to provide a list of witnesses
         “to be produced on the trial for proving the indictment,” and their place of abode
         pursuant to 18 U.S.C. § 3432, is April 18, 2023. In light of this agreement, it is
         hereby ORDERED that the deadline for the Court to provide a list of veniremen
         including their place of abode, and for the Government to provide a list of witnesses
         “to be produced on the trial for proving the indictment,” and their place of abode
         pursuant to 18 U.S.C. § 3432, is April 18, 2023.

ECF No. 1084.

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       The Government’s recently filed Motion seems to indicate that the parties had not reached

an agreement as to compliance with 18 U.S.C. § 3432, as seemingly previously represented. Given

the looming deadline for production, the parties are hereby directed to confer as soon as possible,

and file a joint status report by no later than 5:00 p.m. today, April 17, 2023, informing the Court

as to whether an agreement can be reached regarding this issue. If no agreement is reached,

Defendant is permitted leave to file a response to the Government’s Motion by no later than 12:00

p.m. on April 18, 2023.



                                                             BY THE COURT:

                                                             s/Robert J. Colville_______
                                                             Robert J. Colville
                                                             United States District Judge



cc:    All counsel of record




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